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 8                               UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                        OAKLAND DIVISION
11    EPIC GAMES, INC.                            Case No. 4:20-cv-05640-YGR-TSH

12         Plaintiff, Counter-defendant           [PROPOSED] ORDER RE: APPLE INC.’S
      v.                                          MOTION FOR RELIEF FROM A
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                                                  NONDISPOSITIVE PRETRIAL ORDER OF
14    APPLE INC.,                                 A MAGISTRATE JUDGE

15         Defendant, Counterclaimant             The Honorable Yvonne Gonzalez Rogers
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     [PROPOSED] ORDER RE: APPLE INC.’S MOTION                  CASE NO. 4:20-CV-05640-YGR-TSH
     FOR RELIEF
      Case 4:20-cv-05640-YGR          Document 1285-1        Filed 02/27/25     Page 2 of 2




 1          Pursuant to Federal Rule of Civil Procedure 72(a) and Civil Local Rule 72-2, Apple Inc.

 2   (“Apple”) has filed a Motion for Relief from a Nondispositive Pretrial Order of a Magistrate Judge (the
 3
     “Motion”).
 4
            Having considered the Motion, all associated documents, and any argument of counsel, and for
 5
     good cause appearing:
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            IT IS HEREBY ORDERED that Apple’s motion is GRANTED.
 7

 8   Accordingly,

 9          (1) Apple’s privilege assertions over the following documents are sustained: PRIV-APL-
10   EG_00142704, PRIV-APL-EG_00142725, PRIV-APL-EG_00047167, PRIV-APL-EG_00144536,
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     PRIV-APL-EG_00144537,         PRIV-APL-EG_00100996,         PRIV-APL-EG_00101009,         PRIV-APL-
12
     EG_00101020, and PRIV-APL-EG_00103799.
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15   IT IS SO ORDERED.

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17    Dated: _____________, 2025
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20                                                    _______________________________
                                                      The Honorable Yvonne Gonzalez Rogers
21                                                    United States District Court Judge
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     [PROPOSED] ORDER RE: APPLE INC.’S MOTION          1               CASE NO. 4:20-CV-05640-YGR-TSH
     FOR RELIEF
